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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA



                                             )
ANTHONY SCARANO                              )    Case Number: 10-5067
                                             )
              Plaintiff                      )
                                             )
       vs.                                   )
                                             )
NCO FINANCIAL SYSTEMS, INC.                  )
                                             )
              Defendant                      )
                                             )


                           STIPULATION OF DISMISSAL

       AND NOW, this 8th day of November, 2010, it is hereby Stipulated and Agreed

by and between counsel for plaintiff and counsel for defendant in the above captioned

matter that the above captioned matter be dismissed with prejudice.



                                     Warren & Vullings, LLP


                               BY:__/s/ Bruce K. Warren
                                   Bruce K. Warren, Esquire
                                   Attorney for Plaintiff



                                     Sessions, Fishman, Nathan & Israel, LLC

                               BY:_/s/ Ross S. Enders
                                    Ross S. Enders, Esquire
                                    Attorney for Defendant
